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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO

 JENNIFER L. MILLER, et al.,                       )
                                                   )
                         Plaintiffs,               )
                                                   )
         v.                                        )
                                                   )
 MICHAEL J. ANDERSON, et al.,                      )      Judge John R. Adams
                                                   )
                         Defendants,               )      Case No. 5:20-cv-01743-JRA
                                                   )
         and                                       )
                                                   )
 FIRSTENERGY CORP.,                                )
                                                   )
                         Nominal Defendant.        )

             AFFIDAVIT OF JEROEN VAN KWAWEGEN AND THOMAS CURRY

       Jeroen van Kwawegen and Thomas Curry, being duly sworn, hereby state as follows:

        1.      We are counsel to the Intervenor-Plaintiffs in the above-captioned Action and, on

behalf of all plaintiffs' counsel, submit this Affidavit in response to the Court' s Order of March

22, 2022 (the "Order," ECF No. 290), which directed counsel to "answer under oath, via affidavit,

the Court's question by naming the individuals who paid the bribes in this matter[.]" /d. at 9.

       2.       FirstEnergy Corp. ("FirstEnergy" or the " Company") admitted in its July 20, 2021

Deferred Prosecution Agreement with the Department of Justice (the "DPA") that it "conspired ..

. to pay millions of dollars to and for the benefit of public officials in exchange for specific official

action for FirstEnergy Corp.'s benefit." DPA at 17.

       3.       Plaintiffs received substantial discovery concerning the payments described in the

DPA during the discovery process following orders issued in the parallel consolidated shareholder

derivative action pending in the Southern District of Ohio.




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          4.        Plaintiffs' counsel believe that the discovery received would have shown at trial

that two senior executives of FirstEnergy devised and orchestrated FirstEnergy's payments to

public officials in exchange for favorable legislation and regulat01y action:

      •        Defendant Charles E. Jones, who was FirstEnergy's Chief Executive Officer and a
               director at the time of the scheme and has since been terminated by the Company; and

      •        Defendant Michael J. Dowling, who was FirstEnergy' s Senior Vice President for
               External Affairs at the time of the scheme and has since been terminated by the Company.

          5.        Based on the discovety, Plaintiffs' counsel understand that Defendant Jones is the

individual identified in the DPA as "Executive 1" and that Defendant Dowling is the individual

identified in the DPA as "Executive 2." The DPA describes Executive 1's and Executive 2's

central roles in the events giving rise to this litigation.

          6.        Defendants Jones and Dowling have vehemently denied acting improperly, and

neither Jones nor Dowling have been charged by the Department of Justice.

          7.        We declare under penalty ofpe1jury that the foregoing facts are true and correct.



Dated: March 23,2022




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                                                !'BERNSTEIN LITOWITZ BERGER
                                                   & GROSSMANN LLP
                                                    1251 A venue of the Americas
                                                   New York, NY 10020
                                                   Phone: (212) 554-1400
                                                   jeroen@blbglaw.com




SWORN TO AND SUBSCRIBED BEFORE
me in the State of New York, this 23rd day of
March, 2022




                 lAURA MARION I
          Notary Public- state of New YOlk
                 NO. 01MA6043496
            Qualified in Queens Co
       My Commission Expires     ~    '




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                                                 Thomas Cuny
                                                 SAXENA WHITE P.A.
                                                 1000 N. West Street, Suite 1200
                                                 Wi lmington, DE 19801
                                                 Phone: (302) 485-0480
                                                 tcurry@saxenawhite.com




 SWORN TO AND SUBSCRIBED BEFORE
 me in the State of Delaware this 23rd day of
 March, 2022



  ~a~
               Tayler D. Bolton            ~
        Notazy Attomey-at-Law
              per 29 ~ ~ § 4323
                                  (8)(3)




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